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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA



Animal Legal Defense Fund; and
Lockwood Animal Rescue Center,

                      Plaintiffs,

v.                                                       Case No. 17-cv-4496 (JNE/HB)
                                                         ORDER
Fur-Ever Wild; Wolves, Woods &
Wildlife; and Teresa Lynn Petter,

                      Defendants.



       On April 12, 2018, Plaintiffs in the above-entitled matter submitted a Motion to

Enforce Court Order and for Emergency Injunctive Relief. A telephonic hearing was held

on April 13, 2018. For the reasons set forth during that hearing, the Court denies

Plaintiffs’ motion. The Court also modifies its January 8, 2018 Order in this matter as

follows: Adequate notification as required under Paragraph 2 of the Order requires

Defendants to provide information identifying any transferee facility or facilities either to

Plaintiffs or to this Court under seal.

       Therefore, IT IS ORDERED THAT:

       1. Plaintiffs’ Motion to Enforce Court Order and for Emergency Injunctive Relief
          [ECF No. 49] is DENIED.


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      2. The Court’s January 8, 2018 Order [ECF No. 45] is MODIFIED as set forth
         above.



Dated: April 13, 2018                              /s/ Joan N. Ericksen
                                                   JOAN N. ERICKSEN
                                                   United States District Judge




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